                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


RACHEL RAMSBOTTOM, ET AL.,                             )
                                                       )
        Plaintiffs,                                    )
                                                       )
v.                                                     )       Civil No. 3:21-cv-00272
                                                       )       Judge Trauger
LORIN ASHTON, ET AL.,                                  )
                                                       )
        Defendants.                                    )

                                             ORDER

        The Plaintiffs’ Motion for Reconsideration (Doc. No. 192) is DENIED. The points made

in the accompanying Memorandum go more to the admissibility of these matters at trial than to

their discoverability at this stage of the case. The Protective Order should safeguard the privacy

of the plaintiffs as this discovery is produced, and the court expects the plaintiffs to bring to the

court’s attention any violations of those protections, which this court will vigorously enforce.

        It is so ORDERED.



                                                       ________________________________
                                                       ALETA A. TRAUGER
                                                       U.S. District Judge




     Case 3:21-cv-00272 Document 193 Filed 05/25/23 Page 1 of 1 PageID #: 2280
